  Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 1 of 43

                                        UNITED STATES DISTRIG CO URT
                                        SO UTHERN DISTRICT O F FLO RIDA
                                                                          FILED BY                            D.C.

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       Plaintiff

                                                               CASENO:24-CR-20456-J8
       V.

   A LFRED D A W S
   Defendants,



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                   MOTIO;XNDSWORNOATHFORRELIEFOFORDERSANDDEVANDFOR
                   JUDGE BECERRA TO DISQUALIFY HERSELFAND VACATEALLHER ORDERS
                                  CONCERNING THISCASEAND M EMURANDUM OFLAW

WE zlfwzvfxzlTHATBKCAJs'
                       ziybclu vEA ,JJ#.##pCRIMINAL c/yFzzcwOFINTEREST p'
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M J.                    i..
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        BANK WJ WRITTEN ON YOUR AFFIDA W T FINANCM L DISCLOJFAF                                         STA TEM EN TS.


And asiswritten thatJudgtsSHALL disqualifythem selvesgom acasewhtrethey have aM onty Contlictof

lnterest,28U.S.C.SS455(b)(1)(3)(4)(iii)(c)(d)-(4)(d)and28U.S.C 454 whichprohibitsJudgesfrom engaging
in thePracticeoflaw ishereby on noticethaty0u theJudgein thisCasearehereby disqualised f'
                                                                                        rom thisCase

and ifyou don'titisa Violation ofyourOath ofOflice5 U .S.C.3331 and M isprision ofFelony 18 U.S.C.4.

ForConflictoflnterestcomm itted againsttheU.S.thepenalty isTreason 18U .S.C.SS2381.

ANDYOU JUDGE BECERRA,U.S.AU O RNEY GENERAL M ARKENZY LAPOINTE AND U.S.AU O RNEY JO NATHAN
BAILYN ARE AU ING IN VIOLATION OF PRESIDENT TRUM P'S EXECUTIVE ORDER section 301 OFTITLE 3 OF UNITED
jTATES CODE ENDING W EAPONIM TION OF THE FEDERAL GOVERNMENT (EXH.ZZZZI W HEREAS, THE
GOVERNM ENT AGENTS AND OR OFFICERS HAVE W EAPO NIZED THE LAW AND USED IT TO CAUSE HARM AND
DETRIM ENT T0 W ETHE PEOPLE BG CKS FORTRUMP!They Said they Were investigating us forthe
Jan.6thlnsurrection CasetheyFBIAgentA dnm W einstein calledand saidtoM icallielN ichloson
who answeredthephone and said hew msA dam W einstein 9om theFBland Iam investigating
theJan.6thInsurrection incidentand then they ask to speak to M ichaelAKA M aurice Sym onette
theFBIAgentW einstein said to M aurice Sym onette said thathe w asinvestigating the Jan 6th                          .


Caseforlnsurrection and askedmedidmeandtheBrothersgo intotheU.S.CapitalExh.(AA)
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  andExh.@ B),Then theFBlAgentAdam W einstein wentto Alfred Davis'softke and asked
  Alfred D avis did he know who thesepeople w ere in the picm res oftlzij book,then he show ed
  him abook w ith pictaresofthe Blacb ForTrump brothersM auricesSym onetteEnrique Tnm 'o '
  alzd the proud boys,(Exh.CC)butAlged Davis wouldn'ttalk to them and said speak to lzis
   Lawyer,Then FB1 A gent W einstein Arrested lzim on a state charge of counterfeit access
   M achine and when theBrothersand sisterwentto CourtforA lfred Davisthey w ouldnot1etus
   wearourBlacksForTrum p T-shirtseven though other                   ?;
1. Judges said w e could wear it in the Courtroom On 05/06/2025,l was forced to trial for
   CounterfeitA ccess D evice,and fotmd guilty butcoconspiratorJudge M artinez exclaimedsin
   courtthathe D isagreed with the.A ry and didn kremandAD to Jailasrequested by Prosecutor
   Jonathan flj/#zlJudge said I'
                 .               m doing my own with no evidence I'
                                                                  m doing my own D irected
  Qrdicton.f2//:,11th2024,andleavingAk edDavisoutonD z?J becausetheProsecutordidnot
  PROVE theirCase,broughtno evidence(CounterfeitDeviceMachine)andno Witnesspointed
  outAlfredDavisforanythinglA11inviolation of

2. TR UM PS EM CUTIVE O## F# SECTION 301 OF TITLE 3 UNITED STA TES CODE

  Andnow FBlAgentAdam Wdnstein fshidingfrom Trump becauseTrump Ordered allFBI
  A gents who w orked on the Insurrection C'
                                           açe Fired and so now M aurice Sym onette is a
  Whistleblower on Afzzl-Because Trump ordered allFBlAgents thathad anything to do with
  the)an.6thInsurrection CasebeFired.(Exh.DD).AndyetFBlAgentAdam Wdnstein is,     W !!
  working on thiscasehestemniedfrom theJan.6thInsurrecdon Casein l'D llff/a of Trumps
  ExecudveOrderwhich is Treason.
  FloridaConsétution articlelSection 20.Transcript issupposedto beavailablethenextday butitisstillnoton

  thedockettoview Griftith v.lllinois.Alfred DavisN0W (AD)fredhisLawyer,thenhisfiredLawyercame
  back in COURT withoutAD'sPerm ission to help coerceAD intopleading Guilty,even though hehired another

  Attorney Nashid SabirThe casewasunsealed on 01/24/24and on 02/24/24 the unsealed indictmentwasputon

  the Record.Pursuantto28U.S.C.SS 455(b)(1)(3)(4)(iii)(c)(d)-(4)(d).No Justice,Judge orM agistrate d-(e)
  FCRP rule 60 reliefofJudgementofyourOrder and to vacate YOUR Orderand mustFederalrulesofCivil

  Procedurenlle 17 section 53ofthesrstJudiciary actof1979 common 1aw of lawyerArticle3 U.S.Constitution

   sec.2 clause 1itismandatory byfederal1aw thatyouRecuseyotlrselffrom thisCasebecauseyouhaveacrim inal

   ConflictofInterest. Because a1ltheJudgesmustdisqualify them selvesin the following circum stanceswhere




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Any Federalagentthatworksf0rthegovernm entthattakesmoney has aConflictofinterestin a Case In that

1aw itsaysy0uareconnectedandanaffiliatedbank,BankofAmelicaisUS Bank SeeExh.(B)YOuarein
violation ofFederalCode 18U .S.C.912 you arein aConspiracy with Jonathan Bailyn and M arkenzy Lapointe

anda1ltheseotherjudgeswhohaveConiictsofinterest. FloridaStat.112.131,FloridaRttle2.160 (H)and
FederalRules of CivilProcedtlre Rule.60,DefendantAlfred Davishereby ftlesthis M otion for Relief &

DIK IJALFY and Supporting M emorandum regarding theNouxt2024JudgeJaquelineBecen'
                                                                               areview ofthe
record andFinalJudgementOrder,EA .J.based on the following facts,new information,justterms,judicial
misconduct, fraudulent grounds and discovered conflict of personal investment interests on Financial '

Disclosures ofJudges and offkers ofthisCourtIE% .B) Attached-u.s.BANK SpecialSituation Propertv
Funds Accountpace42-IFRS2018Tables9-13.SEC Filings-U.S.BANK FloridaSubsidiaries,JudgeJaqueline

Becen'
     aFinancialInterests& PropertyDisclosures).


FlorîdaRule2.160 W )Savs,4 Judee- v VacateJlfçordersforConm ctofInterestTheodore#.Bundv M

JudteJohn a4.Rudd H Rule2.160 (D)(1)H Code .& #.Conduct.Canon 3E(1),4 Iudzeskall#fçtw /l//fv

himselfwhere fe fyrtftjlffyttdzhtretzçtm e lv beJllex/ftlnetfAlzle2..160(D)(1)ertm nA to dîsaualifyf:Dartv

fears A #ee lçBlased Fl.S/c/zle 112.312 (8)Judze can'thave a c/af/fczofInterestl 28 U.S.C.SS 455

(b)(1)(3)(4)(iii)(c)(d)-(4)(d).


JudgeJaqueline Becerra must Recuse herselfforan open obviousConflictoflnterestbecause she's

doingbusinesswith BankofAmerica and helpingthem to make m oney so thatshe can m ake m oney

byforeclosingandtaking(stealing)ourpropertywhileactingastheJudgeonthecaseonourproperty,
n'oton case'sM eritsbutto m akeherandthem m oneylllegally.
 Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 4 of 43




 Here'sproof.Becerram ustDisqualifyherselfbecause the Docketonthe third line onAlfred Davis's

DriversLicense Casesaysthatshewasthe M agistrateJudge on thisCase thatshe sealed the Case#

24-cr-20051MEM Exh.R.28U.S.C.SS455(b)(1)SeedocketIine3whereJudgeBecerr:wastheading
M agistrate ontheCaseandsigned anOrdertoSealtheCase.AndAludgeShallalsodisqualifyhimself

in thefollowing Circumstances:W herehe hasa PersonalBiasorPrejudice concerninga party,or

personalknowledgeofdisputedevidentiaryfafrlxconcerningtheproceeding;28U.S.C.SS455(b)(1)



AlfredDavisisactingPro-se becauseADFIRED BRIAN KIRLEW ashisAI7-Y(EXH.ZZ).AndBrianKirlew
knew hew asfired because hetextAD a Iettersayingthathe understoodthathewasfired and that

his assistance w as no Iongerneeded and even said Ad has a Constitutionalrightto the Law yerofhis

choiceortorepresentyourselfsothereisnohardfeelingshere(EE)W HO AW UALLYSHOW ED UPTO

COURT UN INVITED TO TALK AD intotakingthe Pleawith the threatoftheJudge having thejury
outside the Courtroom readyto try the Case thatday and they told AD thathe could nothave HlS

W ITNESSESTESTIFY AND COULD NOT USETHENEW ATW .HECHOOSE(NASHID SABIR)NOT BRIAN
W HO THE JUDGE FO RCED AD TO KEEP AS HlS AITY.THIS IS COERSIAN IN UU M OST ABSOLUTLEY

W ICKED JUDGE BECERRA W OULD NOT GIVE AD A CONTINUANCETO PREPARE LIKE SHE DlD IN OTHER

W HITE PEOPLE'S CASES LIKE HER TRIAL CASE VS THE UNITED STATES THIS IS TOTAL SICK

DISCRIM INATION (EXH.ZZZ),ESPECIALLYW HEN SHEREADTHEMOTIONTO DISM ISSBYATTY.NASHID
SABIRTHAT SHOW STHAT THE SUPPREM E COURT SAYS IT'S ILLEGALTO SAYTHERE IS NO M ORTGAGE

ON PRO PERR AS LONG M YO U SAID IT BEFO RE IT W AS RECO RDED O N BOTH PRIVATE BANKS

FIGGURE BANK AND LOW ER LLC,FL.STAT.SS695.01AND THE SUPPREM E SAYS THAT M ISLEADING A

BANK IS NOT ILLEGALTO M ISLEAD BANKS,18 USC SS 1014 AND US SUPPREM E COURTTHOM PSON V

UNITED STATESANDTHEJUDGE KNOW STHATTHEGOV.CANNOT PROSECUTE FO R PRIVATE LENDERS

THEY M UST DO THEIR OW N DUE DILLIGENCE AND THAT'S CIVIL.18 USC SS 1344 AND THE JUDGE
    Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 5 of 43

KNOW S THAT THE PROSECUTO R HAS NO PROBABABLE CAUSE T0 SEARCH AD'S EM AIL ESPECIALLY

US BANK'S BECAUSETHERE W AS NO COM PLAINT FRO M US BANK BECAUSETHEY NEVER LOANED AD

ANY M ONEYANDTHE PROSECUTO R HAS NO GRANDJURYW ARRANTTO HAVEAD'S EM AILSEARCHED

AND THEY HAVE NO GRAND JURY SIGNED INDICFM ENT AND NOT HAVING THE GRAND JURY

W ARRANT OR THE GRAND JURY INDIW M ENT O R G RAND JURY M INUTES W HICH VOIDS THE W HO LE

CASE,FED.RULES OF CIVIL PROCEDURE RULE 6 AND 7.IT CANNOTIUST BE SIGNED BYTHE ATTY,GEN

M ARKENZY LAPO INTE W H0 HAS 2 M ILL.IN M ORTGAGES W ITH US BANK AND 615,000 DOLLARS IN

CASH FROM US BANK, EXH.Y AND BAILYN OUT OF 380 PROSECUTO RS AND PUBLIC DEFENDERS IN

FLORIDA JONATHAN BAILYN FROM 2020 T0 NOW ISTHEONLY USAU ORNEY THAT DOESN'T HAVE

THE FINANCIALAFFIDAVIT REQUIRED BY THE FED.GOV.SO THEY M UST BOTH DISQUALIFY OFFTHE

CASE NOW ALL M UST BE CHARGED W ITH M ISPRISSION OF FELLONY AND A VIOLATION OF THEIR

OATH W HICH IS TREASON.ALSO NEITHER LAPOINTE NO R BAILYN ARE SIGNED AS A FO REIGN AGENT

W ITH F.A.R.A.ESPECIALLY BECAUSE US BANK FO REIGNLY OW NED BY CHINA,EXH.Z..SO JUDGE

BECERRA LIKE THEM HAS A SERIOUS CONFLICT OF INTEREST.Here in herAffidavit she states IJudge

Jaqueline Becerra,thatBank OfAmerica on her Fulland PublicDisclosure OfFinancialInterestsisa

Bankdoing Businesswith US Bankbecause she'sdoing businesswith US BANK and helping them to

m ake m oney so thatshe can m ake m oney by foreclosing and takihg ourpropertyw hile acting asthe

Judge to take the property not on his M erits butforto m ake him and them m oney lllegally. Here's

proofthat,Judge Jaqueline Becerra isdoing businessw ith Bank ofAm erica asseen in herFINANCIAL

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    DAVIT page4 Iines2 inthe amountof$100,000 EXh.A.W hich isUS Bancorp Exh.Bpg.land
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pg.2because both bankshaveShareswithAllyFinancialaccordingto Fintel'sstockchart.Shealso has

aConflid ofInterestwithAmerican ExpresswhichisU.S.Bankintheamountof$50,000on Iine10,.
W hichisamajorConflictofInterest.W ho she hasruled infavorof,EXH.pleaThatisaConflictof
InterestagainstAD and there's m ore.Ihave found thatourcase w as dired ed to her in this Pool,So

she m ustdisqualifyand recuse herselfandvacate hisOrders,Exhibit,G.So ludge Jaqueline Becerra
 Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 6 of 43

you m ustRecuseYOUR SELFand VACATE YOUR ORDER againstAD,EXH.1.M auriceSymonette hasa

hon. Doctorate Degree as a M inster to AD, Exh.S, and as a nextfriend, FED. RULES OF CIVIL

PROCEDURE17and17(c)andBECAUSETHEILLEGALProsecutorsareinvestigatingandgoingafterME
MAURICESYM ONEU Eso asaninterested partydoesfilethism otionto DISQUALIFYJUDGEBECERRA,

28U.S.C.SS455(b)(1)(3)(4)(iii)(c)(d)-(4)(d).




                                        FACTUA LBACKG RO UND




I.OnM AY 578m 7G Judgelaqueline Becerraissued an illegally coercedfnalPLEA againstDefendantAlfred Davis

foramountsdueandowingonsamemortgagethatwasdismissedwith Prejudiceinformercaseno:24-CR-

20456-J8-11where US BANK also on M+ 5111th,2m 6,JudgeJaqueline BecerraissuedaJudgmentorderacting as

aquasi-defense attorney forUS BANK YOUR personalinvestm ent Partnerto m ake m oney together.Plaintif

ALFRED DAVIShasnow subsequently providedthe United States DepartmentofJustice (DOJ)on snecific
newlvdiscovered whistle blowerinformation and recordsregarding millionsofdollarsin exposedfraudulent

Prosecution claimsm ade by the DefendantsUS BANK,Clerksand Courtofficers in thisadion.Exhibit,0.




                                       M EM ORANDUM OF LAW




    TheDefendantsmaintainsémely ConstitutionaldueprocesscivilrightsforFloridaRule2.160(H)and
FederalRule60Reliefto closethiscasewiththeoriginalDismissalwithPrejudicein ourDefendantsfavor
* 111 requirem ent of Jaqueline Becerra Recusal based on exposed fm ancial contlicts of interests Fla.

5+t.112.312 (8)49).
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    Rule2.1604/7,
                2andFRCP Rule60,reliefhom .ludgmentOrOrder.andtovacateOrder .

TheiristobenoconfictofinterestwiththeJudgeand thePlaint# againstDEFENDANTS.LIKE


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     A JudgeisexpectedtoRecuseherselfaccordingto Fla.CodeJud.ConductoCanon3E(1),Fla.Rule2.160
(A)(H),Fla.SGttlte112.312 (8)andplzrsuantto28U.S,C.j455Underj455(a),Recusalismandatory in
t'any proceeding in which Judge's impartiality m ight reasonably be questioned.''Under Fla. Code Jud.

Conduct,Canon 3E(1)and j 455(b),ajudge isexpected to disqualify herselfwheneverany ofihe five
statutorily prescribed criteria can be shown to existin fact;even ifno motion oraffidavitseeldng such relief

hasbeenfiled,andregardlessofwhetherareasonablepersonwouldquejtionthejudge'simpartiality.
Fla.codeJud.Conduct,Canon3E(1),Fla.Rule2.160(A)(H),Fla.Statute112.312(8)andSection455(b)he.
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    Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 8 of 43

      TllisM otion forReliefbyvacatingorderJudgmentFloridaRule2.160(H) andRecusalisbasedonnew
  facts,related to awhistleblower'sinform ation,willfulblindness,fraud,m isconduct,and discovered evidence

  unknown atthetim eoftheoriginalComplaintfiling Plaintiffcouldnotreasonably lmow thefinancialdealings

  w1t1aDefendant,due to cited improperfinancialconflictsofinterest,Judge Jaqueline Becerrals incapable of

  impartially andwithoutnnimusagainstPro-sePlaintiffortoexerciseunbiasedjudicialdutiesrequiredfordue
  processjusticeinthiscase.JudgeJaquelineBecerrahascreditorloanhistoryandbusinessw1111U.S.BANK
  thatcaused preferentialQuid Pro Quotreatmentby her.suaspontereview and FinalPLEA Order.Judge
  JaquelineBecerrahassignificantexposedinvestorlnancialinterestsinthesubjectmatterin controversyand
  with DefendantsUS BANK thatwillbesubsuntially negatively afected by theoutcom eofthatproceedings

  when the Plaintiffcultim ately prevailsand prom otesin paid foraddsin them edia.Becausepeople can'twin

  when the Judge isontheside oftheBankgtersto stealproperty and m oney offtheirPrey!ExampleofJudges

  who already recused themselves BECAU SE OF US BANK M ONEY CONFLICT 0F INTEREST. 131

  FEDERAL JUDGES FOUND GUILTY OF M ONEY CONFLICT OF INTEREST GOGGLE NY TIM ES

   1.JUDGE DARRIN P.GAYLES Exhibit P.
   2.TI-JOM ASW V LIAM SExhibit,Q.


      JUDGESW ITH A CONFLICT OF G TEREST FROM DEUTSCH E BANK W ITH US BANK
     AGAINSTALFRED DAVISFOR USBANK FOR THESE SXHTBITS SEE GODS2.COM #1B
                  SEE EX H IBIT S FR O M SA R A Z M EL TO SA N C H EZ

1.SARAH 1.ZABEL4/7/09---------------------------------------------------made9 M illionfrom USBANK

  2.VALERIEMANNO SCHURR 1/21/22--------------------madealmost12 Millionfrom US BANK

  3.JOHN SCHLESINGER 12/19/2017-----------------------madealm ost29 M illionfrom US BANK

  4.SAM ANTHA RUIZCOHEN 5/12/2021------------------------made over2 M illionfrom US BANK

  5.M IGUELDELA O 1/9/2019----------------------------------madealmostlMillionfrom USBANK

  6.
   1 VERONI
          CA DIAZ6/2/2020----------------------------------madealmostX M illionfrom USBANK

  7.VIVIANNEDELRIO 5/4/2022-------------------------------madealmost2 M illionfrom US BANK
          Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 9 of 43




              CLERK OFTHE COURTS HARVEY RUVIN AND JUAN FERNANDEZ-BARQUIN



        sgCk;RKjjyjjjj/E)jjj(Jjjjjj..............................................jnade $g1syggojrt)yn (J%%AjjK

        6.CLERKJUAN FERNANDEZ-BARQUIN-----------------------------made$635,000from US BANK



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        DADEFEDERALDISTRICTIUDGESW ITH A $CONFLICTOFINTERESTW ITH U.S.BANK


    4. FEDERALJUDGERODOLFO RUIZ------------------------------------made$250,000 from USBANK

    5. FEDERALJUDGEJOSEMARTINEZ------------------------------------made$250,000from US BANK

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    6. BANKRUPTCYJUDGELAURELlSICOFF- ----------------------------made$15,000from USBANK
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p; 1. FEDERALMAGISTRATEEDUARDO SANCHEZ---------------------made $250,000from USBANK




                                                    REQUIRED RELIEF
 Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 10 of 43

     Fla.CodeJud.Conduct,Canon3E(1),Fla.Rule2.160(A)(H),Fla.Statute112.312(8)andFederalRtlles
ofCivilProcedureRule 60,PlaintiF requiresRelief9om ALL OlkDERsxbased upon thesuted facts,just
term s,cited misconduct,Rule60 groundsand newly discoveredbanking realesute fraud by courtofficers.

     Said Reopening Reliefwould requirethe vacaéng ofhisorderand RecusalofJudge JaquelineBecerra

from this and any future related US BANK banking realestate cases in this District.The Dism issalOrder

Reliefalso requiresthata1lpartiesbe reinsGted to theirpriorpositionsinthisaction and allow thefiling ofthe

M otion to dismisstheFinalJudgmentforcause,grotmds and reasons skted herein filed by Atty.NASFTID

SA BIR

 W E HAVE SEVEN JIJDGE# W HO RECUSED THEM SELW S OFF OF THIS CASE FOR BIT
M O NEY C O NFLICT S See Exhs.U-ZZZ



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$100,000.00 here in this one cmse we have seven Judges who Recused themselves from m aldn rnillionsof
dollarsfrom U.S.Bank one Judge m ade 28 m illion named John Schlesinger,Judge Valerie M anno Schur'
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m ade 11million,M agistrateJudge Sanchezm ade $250,000,JudgeM artinez made$250,000 from U .S.Bank

andyouJudgeBecerrayou saidyou made$150,000fearlessly andyouhaveknowledgeofthiscasein violation

of28USC ss455 (b)(1)andyou'reaDemocratgoing againstBlacksForTnlmp to destroy them withouta
cause inviolation ofPresidentTrumpsExectuive OrderYourhavea Horriying Contlictoflntertestand you

aredisqualified from thisCase

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     CC Pam Bondi




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Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 11 of 43
Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 12 of 43

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Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 13 of 43

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      Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 14 of 43                    E xhA
  FINANCIAI,DISCLOSITRE REPORT                              NameofPersonReporting                                           DateorReport
  Page 6 of6                                                 Becerzw Jacquex e                                               02/15/2024


 IX.CERTV ICATION.

     Icertifythatallinformationgiven above(includinginformationpertainingtomzspouseandmlnorordependentchildren,ifany)is
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Page 5 of6                                                  Becerm,Jacqueline                                                 02/15/2024


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     Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 16 of 43

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 Page4 of6                                                                  Becerm,Jacqueune                                                                     02/15/2024

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 7. AmedcanFunds-TheIncomeFundof                       A         Dividend         J             T
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     Page2 of6                                                      Becerm,Jacqueline                                                    02/15/2024


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      Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 18 of 43               E xh A
  FINANCIAL DISCLOSITRE REPORT                            NameorpersonReporti
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  Page3 of6                                               Becerra,Jacqueline                                               œ/15/2c24


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 2. AmericanExpress                      creditcard                                                                    K

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         Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 19 of 43
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                                                 FOR CALENDAR YEAR 2023
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  Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 29 of 43




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      JJS BANK {NA} VS WIL!a!~MS, LEROY.

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Case 1:24-cr-20456-JB Document 59 Entered on FLSD     . Docket 05/14/2025
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                In accordance with the toc11IU11lt·s for the Southern l>isfrid ofl◄'lorida; providing 1hr

    the r~indom and equal allotment of cases, this cause bhcrcby reassigned to 1.hc calendar of United

    States Uistrict .,udgci Kathlccn.M; W1lli;.•m~ _.

                Copies or this Order-shall be served Oil all pcndingpartii.!S· (lf r.ccord dcclrnnically via

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Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 33 of 43
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                              UNITED STATES DISTRICT COURT             Exh.-pg.3
                              SOUTHERN. DISTRICT OF FLORIDA
                              CASE NO. 24~23015-CV-V'VILLiAMS

   MACK WELLS, et al.,

            Plaintiffs,

   V.


   U;S. BANK N.A,, efa/~,

            Defendants:
   ------------'
                      ORDER RECUSING JUDGE AND REASSIGNING CASE·

          Tile unders_igned District Judge; to vyhom th¢ above.:styled case has been
   assigned, requses_ herself and refers the case to the· Clerk o{ Court for ·r~assigriment
   pLirsuantJo
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               2av.s:c·.
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                           § 455.     •                                    • •         •

        _   DONE AND O_~DERED in Chambers. in l\i1ianii, florida, this 23rd day of Augu_st,
   2024.



                                                                   M. WILLIAMS
                                                                   ATES DISTRICT JUDGE


           In accordancewith the.Local Rµl~s-focthe Southern District of Florid~, providing
    for the random and equal allotfilerit of¢as~,s; this cause is hereby reassigned to the
   •calendar of United States· Dist_rict Judge. •Sheri Chappell              .     •

         AU documents for filing in this case shall carry the following case nurnber ,and
   designatipp: 24-23015-CV-Chappell . _ .       .                     •

            By Order of Court this 23-·_ day of September, 2024.


                                                    ANGELA E. NOBLE
                                                    Court-Administrator/Clerk of Court
          Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 34 of 43
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            CASE-NO:. 2024.,0l2330~CA~0 l
            SECTION:. CA25
            JUDGE: ValerieR. Maffrio Schurr·

             M,ACK.WELLS et al
             Plaintiff(s)
            vs_
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             US BANK NA _e.tal
             Defendant(s)
                                                  I
                                                      ORDEROF-RECUSAL

                 THL'i CA USE. came before the Court sua •sponte, and the C()ult l:>eing tuHy adv jsec;l in the- --
             premises, it is hereby:

                   ORDERED AND AD.JUDGED

                  l. That ,the Lii1detsigned Circuit Court Judge hereby recuses l1ersel f troni further consideration'
                     ofthis case.

                  2. This c.ase shallbereassigned:io another section ofthe:Circuit Civil Division)n accordanc~
                     with established procedures.


             DONE and ORDEREilin ChamlJers at Miami-Dade County, Florida on this 23rd dav of July,
             2024.


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        Case No: 2024,012330-CA-O l                                                                                                  Page·-J of2
  Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 35 of 43




                                                              IN THE GRCUircouRT OF THE-ELEVENTH .
                                                              JUDICIAL ·crRi::urriN,AND FOR MIAMI- •
                                                              DADE COUNTY, Fi..qR,IDA ·.' ' ' •

                                                              G~ERAL-" JURISmmoN



        Flalntiff,

                 vs.




       :De~ndant(s),



                                      Transfer Order on Recusal


        This matter ~ame befure the underslgn~d Aclrnlriistratlve Judge upcih the re.cusal.of
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        For further. information, please visit the following-website. httos:!/www.jud11.ftcol:lrts.org
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      .J~Ni itjiiffEREDih Cha~~ers a~Miarni, Miami-Dade Countyi_Florid~,on
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                                                                   Jennifer·D. Bailey
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       Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 36 of 43
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            CIH.ClHT]N AND fi'OR MIAl\'ll.-DADE Cot.iNT\', l•LOIUDA

            CASE NO'. 20 I 0-061928-CA-0 I
            ·S_ECTlON: CA05 • •                       •
             JUDGE: Vivianne Dd Rio

            U S Bank (na)
             Plaintiff(s)
             vs,

            Williams, Leroy
            Defc11d.:1nt(s}

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                   L 'fhat thC undersigned ·cirq1it C:Cnirt Judge hereby rccoscs himscl 11hcrsdf frQin further
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                     consideration of this case.

                   2. This c.:asc shail be reassigm:d to .another section of the Circuit Civil Division in accordance
                      with established procedures.




      Case No: iO I().06 t928-CA-0 I
 Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 37 of 43




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     Jessica Paith W<1t1s, jw~1tis@rquinnlcgal.com:
     Jessica Faith Watts, c::-crvicc@quinnlcgaLc(>lll
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Clise No: 2010-06 I928°CA-O I                                                                                    ·Page 2 of 3
Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 38 of 43




                                 UNITED $TATES])IS'.l;RICT COURT
                                 SOlHHEllN DISTRICT OitJ?LOIUDA

                                      CASE NO.: 24,.cv~230J5-DPG

  .MACK WELLS, et llf.,



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  lJ.S~ BANKN.A., et al.;

                  Defend:,n(s.
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          PlJRSUANT(o28 U.S.C. §AS5~thc undersigned Judge.t9 whomthcal1ove'."styled cause is-

  assigned hereby rcct:1ses himsei f and refers the case to the Clerk ()ithe ·Cot1rt for rcc1ssignn1enL

          DONEAND ()Rl)EllED in C_hmnbers at Mii.1111i~ Florida this_ IJtir day ofAtigust,2024.




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              In accordance with the Local Rules for the Southern District of Florida, providing for

       the random and equal allotment of cases, this cause is hereby reassigned to the calendar of United

       States District Judge Kathleen M. Williams

              Copies of this Order shall be served on all pending parties of record electronically via

       CM/ECF, or via U.S. Mail to any party not authorized to receive electronically notices of filing.

       All documents for filing in this case shall carry the following case number and designation:
              24-cv-23015-Williams/Goodman

              BY ORDER of the Court this _l_S_tb__ day of August, 2024.



                                                             ANGELA E. NOBLE
                                                             Clerk of Court


                                                             By:




       copies provided to:
       counsel of record
       Clerk of Court


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                                        UNITED STATES D.ISTRICT COURT
                                        SOUTHERN DISTRJCT OF FLORIDA

                                             CASE NO. 24-CV-23015-RAR

             MACK WELLS, et al.,

                    Plaintiffs,

             V.


             U.S. BANK N .A., et al.,

                    Defendants.
             - - - - - - - - - - - - - - - - -I
                                                ORDER OF RECUSAL

                    The undersigned Judge, to whom this case was assigned, hereby recuses himself and refers

             this matter to the Clerk of Court for permanent reassignment in accordance with 28 U.S.C. § 455.
      I
      .. ,
                    DONE AND ORDERED in Miami, Florida, this 13th day of August, 2024.




                                                                RODOLFO A. RUIZ II
                                                                UNITED STATES DISTRICT JUDGE




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(313,435 unread) - bigboss1043@yahoo.com - Yahoo Mail                                                 https://mail.yahoo.com/d/search/name=Alfred%2520Davis&emailAd. ..
                 Case 1:24-cr-20456-JB Document 59 Entered on FLSD Docket 05/14/2025 Page 41 of 43


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             Starred                                    From:
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                                                        davisalfred2025@gmail.com
             Drafts              1.7~                   Bee: bigboss1043@yahoo.com
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             Spam                          From: Alfred Davis <davisalfred2025@gmail.com>
 :i          Trash                         Date: Thursday, May 1, 2025
                                           Subject: Meeting
             "'Less                        To: Kateryn Garcia <!sgarcia@kirlewlawfirm.com>


             Views               Show
                                           Good afternoon,


             Folders              Hide     I am sending this email to notify you that I am terminated the legal services
                                           that Kirlew law firm and Brian Kirlew was providing for me Alfred Davis on
             + New Folder                  this day 5/1/2025. Thank you for your assistance with everything.

               AGA                         On Monday, April 28, 2025, Kateryn Garcia <]igarcia@kirlewlawfirm.com>
                                           wrote:       •
               All CHURCHES
                                            iHi Alfred,
               Allen West

               ANYSTREET
                                            I
                                            I
                                                 I tried calling you, it's 12:30PM.


               Array                        iKateryn Garcia
               BANK RATE
                                            !Office Manager/Paralegal
               Boss Group Ministires        !:
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               BOSS QUITE TITLES            !
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                                                 KLF Logo_for email signature_without service
               C-Span CLASSROOM             1
                                                 2103 Coral Way_! Suite 306 I Miami, FL 33145
               conservative friends ...

               Drafts                            Tel: 305.521.0484 IFax: 305.330.5436

               Ebay + Paypal                     Email: !S_garcia@kirlewlawfirm.com \Website: www.kirlewlawfirm.co m

               FREEDOM JAMBO ...

               FREEDOMWORKS
                                                 WARNING: THE INFORMATION CONTAINED IN THIS ELECTRONIC MAIL
               GLENN BECK                        TRANSMISSION IS ATTORNEY PRIVILEGED AND CONFIDENTIAL, INTENDED
                                                 SOLELY FOR THE USE OF THE INDIVIDUAL OR ENTITY NAMED ABOVE. IF THE
               Hotel Travel                      READER OF THIS MESSAGE IS NOT THE INTENDED RECIPIENT, YOU ARE
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               MAX PC

               Michael The Blackman

               Notes

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               PC WORLD

               Promotions                        On Mon, Apr 28, 2025 at 8:16AM Alfred Davis
                                                 <davisa1fred2025@gmail.com> wrote:
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               repblicans
                                                      Is the meeting today 12:30 or 4:30 can you please give me a call to
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               TRICIA RAYMOND



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